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                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF MARYLAND


 PFLAG, INC., et al.,
        Plaintiffs,
                        v.
                                                    Civil Action No. BAH-25-337
 DONALD J. TRUMP, in his official capacity
 as President of the United States, et al.,
         Defendants.


    PLAINTIFFS’ MOTION TO EXTEND TEMPORARY RESTRAINING ORDER

       Plaintiffs PFLAG, Inc. and GLMA: Health Professionals Advancing LGBTQ+ Equality

(“GLMA”) (collectively, the “Member Organization Plaintiffs”); Gabe Goe, by and through his

parent and next friend George Goe; George Goe; Bella Boe, by and through her parent and next

friend Bruce Boe; Bruce Boe; Cameron Coe, by and through their parent and next friend Claire

Coe; Claire Coe; Robert Roe, by and through his parent and next friend Rachel Roe; Rac hel Roe;

Lawrence Loe; and Dylan Doe (collectively, the “Individual Plaintiffs”) hereby move the Court to

extend the Order Granting Plaintiffs’ Motion for a Temporary Restraining Order (“TRO”) (Dkt.

61) entered in the above-captioned case against Defendants U.S. Department of Health and Human

Services (“HHS”); Robert F. Kennedy, Jr., in his official capacity as Secretary of HHS; the Health

Resources and Services Administration (“HRSA”); Diana Espinosa, in her official capacity as

Principal Deputy Administrator of HRSA; the National Institutes of Health (“NIH”); Matthew J.

Memoli, in his official capacity as Acting NIH Director; the National Science Foundation (“NSF”);

and Sethuraman Panchanathan, in his official capacity as Director of NSF.

       In support of their request, Plaintiffs respectfully state as follows:
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          1.   On February 4, 2025, Plaintiffs filed a Complaint (Dkt. 1) in the above -captioned

matter.

          2.   Plaintiffs filed an Emergency Motion for Temporary Restraining Order on February

5, 2025. (Dkt. 35.)

          3.   On February 11, 2025, Plaintiffs filed an Amended Complaint. (Dkt. 53.)

          4.   On February 13, 2025, after a hearing on Plaintiffs’ Motion for a Temporary

Restraining Order, Judge Brendan Hurson entered the TRO against Agency Defendants, finding

that irreparable injury, loss, or damage would result to Plaintiffs unless Agency Defendants were

immediately restrained from conditioning or withholding federal funding based on the fact that a

healthcare entity or health professional provides gender affirming medical care to a patient under

the age of nineteen under Section 3(g) of Executive Order 14,168 and Section 4 of Executive Order

14,187. (Dkt. 61.)

          5.   The Court issued a memorandum opinion to further explain the Court’s reasoning

for entering the TRO on February 14, 2025. (Dkt. 62.)

          6.   The TRO ordered that it would remain in effect until fourteen days after entry of

the Order and ordered the parties to file a status report by February 18, 2025 with a briefing

schedule for a motion for preliminary injunction.

          7.   On February 18, 2025, the parties filed a joint status report proposing briefing

schedules on Plaintiffs’ forthcoming motion for a preliminary injunction. (Dkt. 68.)

          8.   Plaintiffs proposed the following schedule under which the TRO would be extended

by 14 days to Thursday, March 13, 2025:

               •      Preliminary injunction motion filed on Tuesday, February 18.
               •      Government’s opposition due on Friday, February 28.
               •      Plaintiffs’ reply due on Friday, March 7.




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                •       Hearing on or before Thursday, March 13, if the Court decides a hearing is
                        needed.

        9.      Defendants opposed an extension of the TRO and proposed the following briefing

schedule:

                •       Preliminary injunction motion filed on Tuesday, February 18.
                •       Government’s opposition due by 12:00 pm ET on Tuesday, February 25.
                •       Plaintiffs’ reply due by 6:00 pm ET on Wednesday, February 26.

        10.     Defendants also stated they did not believe that a hearing on Plaintiffs’ preliminary

injunction motion is necessary and accordingly did not request a hearing.

        11.     Plaintiffs filed their Motion for a Preliminary Injunction on February 18, 2025.

(Dkt. 69.)

        12.     The TRO is currently set to expire on Thursday, February 27, 2025.

        13.     Pursuant to Federal Rule of Civil Procedure 65(b)(2), a TRO “expires at the time

after entry—not to exceed 14 days—that the court sets, unless before that time the court, for good

cause, extends it for a like period or the adverse party consents to a longer extension. ” “The

reasons for an extension must be entered in the record .” Id.

        14.     Should the Court be inclined to enter the longer briefing schedule set forth in

paragraph 8 above, there is good cause for the Court to extend the TRO by two weeks. As set

forth in Plaintiffs’ motion for a preliminary injunction, there remains the threat of irreparable injury,

loss, or damage that will result to Plaintiffs, the organizational Plaintiffs’ members, and

transgender people under 19 across the country if Defendants are not restrained from conditioning,

withholding, or terminating federal funding based on the fact that a healthcare entity or health

professional provides gender affirming medical care to a patient under the age of nineteen under

Section 3(g) of Executive Order 14,168 and Section 4 of Executive Order 14,187 before entry of

a preliminary injunction. Indeed, the Court has already found that absent temporary injunctive


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relief, Plaintiffs “will face irreparable harm if the challenged portions of the Executive Orders are

not enjoined both because they have shown a strong likelihood of success on their constitutional

claims, but also because they have provided unassailable documentation that they are suffering

from diminished access to high-quality health care suited to their needs.” (Dkt. 62 at 2 (cleaned

up).)

        15.    Moreover, as the Court has already also found, “there is a very strong likelihood

that Plaintiffs will succeed on the merits of all three claims that are the subject of their motion for

a TRO. The challenged provisions of the Executive Orders place conditions on federal funding

that Congress did not prescribe,” and “Plaintiffs are likely to succeed on their claims related to

discrimination.” (Dkt. 62 at 2.)

        16.    “Finally, the balance of equities and the public interest weigh in favor of a

[extending the TRO] as Defendants are not harmed by a prohibition that maintains the status quo

and enjoins the enforcement of restrictions likely to be found unconstitutional.” Id.

                                              CONCLUSION

        For the foregoing reasons, Plaintiffs respectfully request that the Court extend the

Temporary Restraining Order for fourteen days from the date of its original expiration, until

Thursday, March 13, 2025.

Dated: February 21, 2025                               Respectfully submitted,

                                                      /s/ Omar Gonzalez-Pagan
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                                                 *Application for admission pro hac vice
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                                                 **Application for admission forthcoming.
                                                 ***Application for admission pro hac vice
                                                 granted and admitted only in D.C. Supervised
                                                 by principals of the firm admitted in
                                                 Massachusetts.




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                             CERTIFICATE OF SERVICE

      I hereby certify that the foregoing document was electronically filed using the Court’s

CM/ECF system. Service was effected by and through the Court’s CM/ECF system.



Dated: February 21, 2025                                /s/ Omar Gonzalez-Pagan
                                                        Omar Gonzalez-Pagan
